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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                             Case No. 17-20470
                   Plaintiff,                Hon. Bernard A. Friedman
vs.


ALI BAYDOUN,

               Defendant,
_____________________________/


                        DEFENDANT ALI BAYDOUN’S
                        SENTENCING MEMORANDUM

I. INTRODUCTION

      Sentencing is an inherently individual matter, and Mr. Baydoun’s individual

conduct is the point for the Court’s sentencing focus. Sentencing is meant to treat

each offender as individual, Pepper v. United States, 562 U.S. 476 (2011); United

States v. Pauley, 511 F.3d 468 (4th Cir. 2007). Mr. Baydoun submits this

sentencing memorandum, and urges the Court to find that because of his

individual, limited involvement in this offense, a sentence of probation is sufficient

to satisfy the purposes of 18 USC §3553(a). Mr. Baydoun’s conviction, and the

attendant collateral consequences, in and of themselves itself, are sufficient

punishment for his limited involvement in this case.
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I. FACTUAL AND PROCEDURAL HISTORY

      The government’s repeated reference to “the Baydouns’scheme”, and similar

statements, reflect an effort to undermine its stipulation that Mr. Ali Baydoun

played a minimal role in this offense, and to make Mr. Ali Baydoun’s participation

in this crime appear to be more than it was. This is a violation of its obligations

under the Rule 11 plea agreement (Doc 28, p. 6). The broad brush with which the

government attempts to conflate the activities of all of the Baydouns, without

identifying the singular involvement or activity of each of them, suggests that the

Court ignore its obligation to sentence each defendant as an individual.

      The first time Ali Baydoun became aware of his brother’s efforts to bribe a

public official was in the car of the Garden City police chief on December 2, 2016.

While that does not impact the fact that he is guilty of the crime charged, it is

significant for this Court’s decision of what punishment is appropriate.

      Until December 2, 2016, Mike Baydoun was the only person involved in this

criminal activity. He was the one who came up with the idea, accepted the chief’s

request for a bribe, and discussed the amount and scope of the bribe(s). The only

thing Ali Bay doing knew was that his brother was trying to get out of the

restaurant business and into the marijuana business. Ali had been paying monthly

to keep the restaurant afloat, and anything his brother could do to earn a living


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profitably would reduce his financial burden.

      Mike Baydoun was a big talker who said whatever it took to get what he

wanted. Every time the chief said he would need something, Mike Baydoun said,

“no problem.” The so-called “bribe escrow” was Mike Baydoun responding to the

chief’s suggestion that by bribing somebody in Lansing Mike could get a license to

grow more marijuana than he was originally requesting. When the chief said

“more”, Mike said “great no problem.” This Court’s findings regarding the facts of

this case should not be based on anything Mike Baydoun said.

      Ali Baydoun had, for some time, been the financial support of his brother’s

financially struggling restaurant. Mr. Baydoun was aware, and even encouraged,

his brother to consider closing the restaurant and finding some other business.

When his brother advised him that was going into the medical marijuana business,

Mr. Baydoun knew that his brother would seek and need his financial assistance.

On December 2, 2016 Mr. Baydoun went to the bank and withdrew $7,000 from

two separate accounts ($4,000 from one and $3,000 from another) because his

brother asked to borrow $15,000 and he only had half of that amount on hand. Mr.

Baydoun then went to his brother’s restaurant to give the money to his brother.

      While in the restaurant, Mr. Baydoun was contacted by his brother who

asked him to come out to the back of the restaurant. His brother said he wanted to


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introduce him to someone. When he and his nephew went behind the restaurant,

they met the chief. From the December 7, 2016 recording, we know the chief was

as surprised as Mr. Baydoun was, because he had to clean out his car in order to

make room for Mr. Baydoun and his nephew to sit in the backseat. After

introductions were made, the conversation then went to the process of obtaining a

dispensary license in Garden City, the operation of that dispensary, and acquiring a

location. The conversation involved the chief, Mike Baydoun, and Jalal Baydoun.

The only contribution Ali Baydoun made to the conversation was to state that the

building whose purchase was being discussed would be put in his name, and when

escrow funds were needed for the purchase of the building1, they would be

available.

       Mr. Baydoun concedes that lawful business is not conducted in the back of a

police car. As soon as Mike and the chief began to talk about the marijuana

business and the need for the consent and participation of public officials, he

knew, or should have known, that whatever his brother had in mind, it was not

legal. He knew, or should have known, that it was time to get out of the car. If he

didn’t get it before then, when the chief asked Mike Baydoun if he had something

       1
          The government mischaracterizes this statement in its sentencing memorandum (Doc
43, p. 5). The government claims that the discussion of money that took place in the car was
about a bribe. The conversation clearly was about the purchase of real estate and escrow funds
that would be necessary for the purchase.

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for the chief and Mike Baydoun said “let’s do business”, Ali had to know that by

giving the chief, or even Mike, the envelope with $15,000.00, he was engaging in

criminal conduct.

      Ali Baydoun did not worry about leaving the bank withdrawal receipts in the

envelope because he thought he was giving the money to his brother. That analysis

is also supported by Mr. Ali Baydoun’s contemporaneous statement that “there are

a couple bank receipts in there, but they are nothing.” That statement also belies

the government’s claim that the receipts were left in the envelope as evidence that

there was money available as “escrow” for future bribes.

II. SENTENCING GUIDELINE CALCULATION

      The sentencing guidelines are properly calculated at 10 to 16 months.

III. 18 USC §3353(A) FACTORS

      While the parties and probation have agreed that the applicable guideline

range in this case is 10 to 16 months, that is not the end of the sentencing

discussion. “[T]he sentencing court must first calculate the Guidelines range, and

then consider what sentence is appropriate for the individual defendant in light of

the statutory sentencing factors.”, Nelson v. United States, 555 U.S. 350, 351

(2009). “The guidelines are not only not mandatory on sentencing courts; they are

also not to be presumed reasonable.” Id at 352.


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      The district judge ‘must...make an individualized assessment based on the

facts presented’ and upon a thorough consideration of all of the § 3553(a) factors.”

United States v. Bolds, 511 F.3d 568, 580-81 (6th Cir. 2007). District court judges

are mandated to determine the appropriate sentence under § 3553(a) completely

independently of the Guidelines, Rita v. United States, 127 S. Ct. 2456 (2007).

The Court is required to impose a sentence that is “sufficient, but not greater than

necessary, to comply with the purposes” of § 3553(a)(2). Id. The Court’s task is

to “consider” the seven listed factors contained in § 3553(a), and then to employ

those considerations in arriving at a sentence that is sufficient but not greater than

necessary to accomplish the purposes of sentencing listed in § 3553(a)(2).


      (A) The nature and circumstances of the offense and the history and
      characteristics of the defendant

      Bribery of public officials is a serious matter. Mr. Baydoun does not deny

that fact. But that fact alone does not warrant a sentence of incarceration.

      Mr. Baydoun is a first-time, non-violent offender. He is the single father of 6

children, and their sole support. He has been in the used medical product business

for over 9 years. He is a legitimate businessman with no criminal history. He has

traveled throughout the United States, and done business with no prior claim of

personal misconduct. His involvement in this offense was showing up on


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December 2, 2016 to loan his brother $15,000 to use in establishing a new

business. The government has stipulated that he played a minimal role in this

offense.

       Given the facts of this case, Mr. Baydoun’s law-abiding history, and the

impact the charges have had on Mr. Baydoun's life, it is unlikely that he needs

further punishment to impress upon him respect for the law. He has been under a

great deal of stress because of these charges, and his already compromised health

has suffered. His guilty plea, and conviction, will render him ineligible to bid on a

number of government contracts, perpetually reducing his income. Additionally,

he has agreed to forfeit Sixty Thousand ($60,000) Dollars to the government to

settle its claim that his bank accounts were, in fact, the “future bribes escrow”, and

therefore part and parcel of the bribery conspiracy2.

       (B) THE NEED FOR THE SENTENCE TO AFFORD ADEQUATE DETERRENCE
       TO CRIMINAL CONDUCT

       There is no reason to believe that there would be any general deterrence as a

result of incarcerating Mr. Baydoun. As will be discussed below, the sentencing

commission has determined that individuals similarly situated to Mr. Baydoun

have a very low risk of re offending.

       2
        The government originally seized and sought to forfeit over $130,000. As a result of the
government seizure of his account, Bank of America those accounts and will not do business
with Mr. Baydoun in the future.

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       Additionally, academic literature on sentencing consistently has shown that

it is the certainty of punishment, not the length, that is the deterrent factor in most

sentences, Five Things About Deterrence, National Institute of Justice, June 6,

2016, https://nij.gov/five-things/pages/deterrence.aspx3. Empirical research has

shown that while certainty has a deterrent effect, “increases in severity of

punishments do not yield significant (if any) marginal deterrent effects.” Michael

Tonry, Purposes and Functions of Sentencing, 34 Crime & Just. 1, 28 (2006). See

also, Zvi D. Gabbay, Exploring the Limits of the Restorative Justice Paradigm:

Restorative Justice and White Collar Crime, 8 Cardozo J. Conflict Resol. 421,

447,-48 (2007).

       (C) THE NEED FOR THE SENTENCE TO            PROTECT THE PUBLIC FROM
       FURTHER CRIMES OF THE DEFENDANT

       The Sentencing Commission issued its study, "Measuring Recidivism.", in

May, 2004, http://www.ussc.gov/publicat/Recidivism_General.pdf ("Measuring

Recidivism"). This report offered a statistical analysis of the type of person most

likely and least likely to re-offend. The study demonstrated that the risk of Mr.

Baydoun re-offending is virtually nil, and lends support to the defense position that

a custodial sentence is not necessary to deter Mr. Baydoun or others similarly

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         See, also, Deterrence in Criminal Justice, Evaluating Certainty vs. Severity of
Punishment, Valerie Wright, Ph.D (2010); Deterrence in the Twenty-First Century, Daniel S.
Nagin (2013);

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situated.

      The study demonstrated that 1) those over 50 are less likely to recidivate

than those under 50; 2) those who have not used illicit drugs, are less likely to

recidivate than those who did; 3) those who are or have been married are less likely

to recidivate than those who have never been married; 4) non-violent offenders are

less likely to recidivate than violent offenders; 5) first time offenders are less likely

to recidivate than repeat offenders; 6) those who are employed are less likely to

recidivate than those who aren't; and 7) those who are sentenced to non-jail

sentences are less likely to recidivate than those who receive jail.

      Both the age of an offender and his first offender status are powerful

predictors of the likelihood of recidivism. Indeed, the Sentencing Commission has

itself recognized that (1) recidivism rates decline dramatically with age, and (2)

first-time offenders are even less likely to reoffend than defendants with a limited

criminal history who also fall within Criminal History Category I. See, U.S.

Sentencing Commission, Measuring Recidivism: The Criminal History

Computation of the Federal Sentencing Guidelines (May 2004); U.S. Sentencing

Commission, “Recidivism and the ‘First Offender’", at 13- 14 (May 2004).

      The Sentencing Commission has recognized that an offender within Mr.

Baydoun's age range – and his lack of any criminal record – is extremely unlikely


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 to recidivate. A within-guidelines sentence of 10-16 months is simply greater than

 necessary to protect the public from the small chance of his committing future

 crimes. Such a lengthy sentence would only serve to provide"just deserts" at a very

 high cost to the American taxpayer while hindering Mr. Baydoun's ability to take

 care of his health and his family.

       (D) THE NEED FOR THE SENTENCE TO PROVIDE THE DEFENDANT
       WITH NEEDED EDUCATIONAL OR VOCATIONAL TRAINING, MEDICAL
       CARE, OR OTHER CORRECTIONAL TREATMENT IN THE MOST
       EFFECTIVE MANNER

       There is nothing the Bureau of prisons can do to provide Mr. Baydoun with

 any of the needs described in this subparagraph. He is a businessman who has

 supported his family for a number of years by the sweat of his own labor.

       (E) ANY PERTINENT POLICY STATEMENTS ISSUED BY THE SENTENCING
       COMMISSION

       §5K2.20. Aberrant Behavior (Policy Statement)
       “A sentence below the applicable guideline range may be warranted in
       an extraordinary case if the defendant’s criminal conduct constituted
       aberrant behavior.”

                                  ***

       Application Notes:

       1. For purposes of this policy statement—

       ‘Aberrant behavior’ means a single criminal occurrence or single
       criminal transaction that (A) was committed without significant
       planning; (B) was of limited duration; and (C) represents a marked
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       deviation by the defendant from an otherwise law-abiding life.

       The facts demonstrate that this policy statement applies to Mr. Baydoun.

 First, it is clear that Mr. Baydoun’s involvement occurred without significant

 planning. Mr. Baydoun’s brother asked him to loan him money, and Mr. Baydoun

 did so. He went to the bank and withdrew money and took it to his brother. The

 government’s attempt to misinterpret the facts notwithstanding, leaving the bank

 receipts in the envelope was clearly evidence that Mr. Baydoun intended to give

 the money to his brother, not the police chief.

       The government stipulation to a minimal role reduction fits the requirement

 that Mr. Baydoun involvement be limited. The fact that Mr. Baydoun only was

 involved to the extent that he was going to loan his brother money reinforces that

 stipulation.

       It is clear from Mr. Baydoun’s personal history that his involvement here

 constitutes “a marked deviation by the defendant from an otherwise law-abiding

 life”. Mr. Baydoun worked hard at physical labor for the railroad for a number of

 years before he was injured and had to leave his employment. Although he could

 have qualified for disability, Mr. Baydoun rejected that path and began a series of

 businesses, which have allowed him to provide for his family.

       When his wife died, Mr. Baydoun immediately, and enthusiastically


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 accepted responsibility for his six daughters. He has provided them an honest and

 honorable living. He pays for their schooling and all of their other care. He has not

 let subsequent medical problems slow him down. He has cared for everyone that

 needs his help. Indeed, it was that willingness, and practice, of supporting and

 caring for his brother that dragged him into this offense.

 III. The kinds of sentences available

       There is nothing to limit this Court's creativity in sentencing Mr. Baydoun.

 In the Sentencing Reform Act, Congress directed the Sentencing Commission to

 "insure that the guidelines reflect the general appropriateness of imposing a

 sentence other than imprisonment in cases in which the defendant is a first offender

 who has not been convicted of a crime of violence or an otherwise serious

 offense." 28 U.S.C. § 994(j) (emphasis added). While there is no question that this

 is a serious offense, given Mr. Baydouns limited involvement, this Court should

 not regard his conduct as an “otherwise serious offense.”

 IV. CONCLUSION

       There are multiple reasons that to suggest that Mr. Baydoun does not require

 incarceration. Because it is the certainty, not the severity, of punishment that best

 serves as a general deterrent to the public at large, a sentence of probation would

 more than adequately fulfill § 3553(a)(2)(B)'s goal of "afford[ing] adequate


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 deterrence to criminal conduct."

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